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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY



 THE BANK Of NEW YORK MELLON
 CORPORATION, AS TRUSTEE FOR CHL
 MORTGAGE PASS-THROUGH TRUST 2003 -24                                OPINION
 MORTGAGE PASS-THROUGH CERTIFICATES,
 SERIES 2003-24,                                                     Civ. No. 15-01465 (WHW) (CLW)
                      Plaintiff,
                           V.


 ALLEN L. FISCHER; PATRICIA L. FISCHER; ET
 AL.,

                                   Defendants.


Walls, Senior District Judge

       Plaintiff The Bank of New York Mellon Corporation (“BNY Mellon”) moves to remand

this mortgage foreclosure action to New Jersey Superior Court. Without oral argument under

Federal Rule of Civil Procedure 78(b), the Court grants BNY Mellon’s motion.

                        FACTUAL AND PROCEDURAL BACKGROUND

       Plaintiff BNY Mellon initiated this mortgage foreclosure action in New Jersey Superior

Court on January 16, 2015. Compl., ECF 1-1. BNY Mellon seeks to foreclose on Defendants Allen

and Patricia Fischer’s mortgaged property at 12 Saddle River Road in Woodcliff Lake, New

Jersey. Id. Defendants removed the case to this Court, asserting that removal was appropriate under

28 U.S.C.   §   1441 because this Court has federal question jurisdiction. Notice of Removal ¶ 9, ECF

No. 1. Defendants indicate that federal question jurisdiction arises from federal law counterclaims

they intend to assert against Plaintiff. Id. Defendants filed their Notice of Removal on February

26, 2015, but because of a “clerical error,” they did not serve Plaintiff with the Notice of Removal

or otherwise notify Plaintiff about the removal until April 14, 2015. Defs.’ Mem. 2, ECF No. 7.


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Thirty days after receiving notice of the removal, Plaintiff filed the present motion to remand. Mot.

to Remand, ECF No. 5.

                                      LEGAL STANDARD

       Generally, “any civil action brought in a State court of which the district courts of the

United States have original jurisdiction, may be removed by the defendant.          .   .,   to the district court

of the United States for the district and division embracing the place where such action is pending.”

28 U.S.C.   § 1441(a). “The removal statutes are to be strictly construed against removal and all
doubts should be resolved in favor of remand.” Boyer v. Snap-On Tools Corp., 913 F.2d 108, 111

(3d Cir. 1990) (quoting Steel Valley Auth. v. Union Switch & Signal Div., 809 F.2d 1006, 1010 (3d

Cir. 1987)). If a matter is improperly removed to federal court, a court can remand it on motion by

a party made within thirty days after the notice of removal was filed. 2$ U.S.C.               § 1447(c). When
confronted with a motion to remand, the removing party has the burden of proving that removal

was proper. Id.; Samuel-Bassett v. K[A Motors Am., Inc., 357 F.3d 392, 396 (3d Cir. 2004).

                                          DISCUSSION

       1. Plaintiffs Motion to Remand Is Timely

       As an initial matter, the Court finds that Plaintiffs motion to remand is timely. 2$ U.S.C.

Section 1447(c) provides that “[a] motion to remand     .   .   .   must be made within 30 days after the

filing of the notice of removal under section 1446(a).” 28 U.S.C.               § 1447(c). As discussed,
Defendants filed their Notice of Removal on February 26, 2015 but did not notify Plaintiff of it

until April 14, 2015, more than thirty days later. Defs.’ Mem. 2. Without notice,1 Plaintiff had no

opportunity to move to remand within the thirty day period provided by Section 1447(c). “In these

circumstances, it is appropriate that the statutory time period for filing a remand motion be


  28 U.S.C. § 1446(d) required Defendants to give Plaintiff written notice “[p]romptly” after filing
the notice of removal.

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equitably tolled.” Byfleld v. Niaz, Civ. No. 00-6572, 2001 WE 25705, at *2 (S.D.N.Y. Jan. 10,

2001) (tolling thirty-day deadline under Section 1447(c) because of 28-day delay in serving

plaintiffs with notice of removal); see also Doyle v. Staples, Civ. No. 99-6062, 2000 WL 194685,

at *2 (E.D.N.Y. Feb. 18, 2000) (tolling thirty-day deadline under Section 1447(c) because of 2.5

month delay in providing notice). Given Defendants’ delay of over six weeks in notifying Plaintiff

of the removal, equitable tolling is appropriate and Plaintiffs motion to remand is timely.

       2. Remand Is Warranted Because Removal Was Improper

       Plaintiff argues that removal of this action was improper for a number of reasons and that

it should be remanded to New Jersey Superior Court. Pl.’s Mem. 4, ECF No. 5-1. The Court agrees

that removal was improper and that remand is warranted.

       Defendants’ Notice of Removal indicates that removal was predicated on this Court’s

federal question jurisdiction. No federal question appears on the face of Plaintiffs mortgage

foreclosure complaint, which seeks foreclosure under state law. See Compl. Defendants claim that

federal question jurisdiction exists, however, “because the defendant’s claim arise[s] from

violation of the Real Estate Settlement Procedures Act,” a federal statute. Notice of Removal   ¶ 9.
Anticipated counterclaims do not confer federal question jurisdiction. “The presence or absence

of federal-question jurisdiction is governed by the ‘well-pleaded complaint rule,’ which provides

that federal jurisdiction exists only when a federal question is presented on the face of the

plaintiffs properly pleaded complaint.” Caterpillar, Inc. v. Williams, 482 U.S. 386, 392 (1987)

(citing Gully v. First Nat’l Bank, 229 U.S 109, 112-13 (1936)). The Supreme Court has made clear

that for purposes of removal, federal question jurisdiction is determined only by reference to the

plaintiffs complaint, without any reference to a defendant’s counterclaims. Holmes Group, Inc. v.

Vornado Air Circulation Sys., Inc., 535 U.S. 826, 831 (2002); Vaden v. Discover Bank, 556 U.s.



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49, 60 (2009) (stating that federal jurisdiction cannot rest upon an actual or anticipated

counterclaim). Because Plaintiff’s complaint presents no federal question, removal of this action

on the basis of this Court’s federal question jurisdiction was improper.

       Despite predicating their removal on federal question jurisdiction, Defendants now argue

in their opposition papers that this Court has diversity jurisdiction over this matter. Defs.’ Mem.

7. While this may be true, it does not remedy the procedural defectiveness of Defendants’ removal

on federal question grounds.2 Defendants’ removal was procedurally defective, and remand is

warranted.

                                         CONCLUSION

       Plaintiff’s motion to remand is granted. An appropriate order follows.



Date: July’2015




                                                             Hon. William FWils
                                                             United States Senior District Judge




2
 Defendants could not have removed on diversity grounds because they are New Jersey citizens.
28 U.S.C. § 1441 (b)(2) (barring defendant from removing state actions to federal court in their
home states).

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